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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF DELAWARE

GRAYLIN HALL,                              )
                                           )
              Petitioner,                  )
                                           )
       v.                                  )         Civ.Act.No. 07-003-GMS
                                           )
THOMAS L. CARROLL, Warden                  )
and JOSEPH R. BIDEN III, Attorney          )
General for the State of Delaware          )
                                           )
               Respondents.                )


               NOTICE OF FILING OF STATE COURT RECORDS

       1. Notice is hereby given that certified copies of the following Delaware Superior

Court documents in I.D. No. 0001001994A also have been manually filed with the Court

and are available in paper form only.

               a. Criminal Docket

               b. Indictment

               c. Motion for Postconviction Relief (November 19, 2004)

               d. Affidavit of Counsel (January 19, 2005)

               e. Response to Affidavit of Counsel (March 28, 2005)

               f. Order Denying Motion for Postconviction Relief (May 3, 2005)

               g. Motion for Correction of Sentence (January 25, 2006)
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            h. Order Denying Motion for Correction of Sentence (February 3, 2006)




                                                      /s/ Kevin M. Carroll
                                                      Deputy Attorney General
                                                      Department of Justice
                                                      820 N. French Street
                                                      Wilmington, DE 19801
                                                      (302) 577-8500
                                                      Del. Bar. ID No. 4836


DATE: May 24, 2007
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                            CERTIFICATE OF SERVICE

       I hereby certify that on May 24, 2007, I electronically filed a notice of filing of

state court records with the Clerk of Court using CM/ECF and manually filed the state

court records referenced therein. I also hereby certify that on May 24, 2007, I have

mailed by United States Service, two copies of the notice and one copy of the documents

referenced therein to the following non-registered participant:

       Graylin Hall
       No. 00159336
       Delaware Correctional Center
       1181 Paddock Road
       Smyrna, DE 19977

                                                              /s/ Kevin M. Carroll
                                                              Deputy Attorney General
                                                              Department of Justice
                                                              820 N. French Street
                                                              Wilmington, DE 19801
                                                              (302) 577-8500
                                                              Del. Bar. ID No. 4836
                                                              kevin.carroll@state.de.us



Date: May 24, 2007
